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UNITED STATES DISTRICT COUR'I` % U`CA
WESTERN DISTR]CT OF TENNESSEE 05 mv _ 9 am
wEs'rERN DIVISION * 1 ' 5
§§ '. i»"'L)iiQ
cs-z:a:<, :nls"r. cT.
Plaintiff, )
v. ) Case No. 03-2155 Ml/A

CITY OF MEMPHIS, )
Defendant. )

 

ORDER GRANTING PLAIN'I`IFF’S MOTION
FOR ONE DAY EX'I`ENSION TO SERVE HIS AMENDED RESPONSES TO
REQUEST NUMBERS 1, 4, 5, 12, AND 13 OF DEFENDANT
CITY OF MEMPHIS’ FIRST REQUEST FOR ADMISSIONS

 

Before the Court is the P!aintiff's Motion for One Day Extension to Serve his
Amended Responses to Request Numbers 1, 4, 5, 12, and 13 of Defendant City of
Memphis’ First Requests for Admissions. For good cause shown, the motion is

GRANTED.

his so oRDERED,:his 5 day of 12fo § ,.2005

Jo Phipps McCal|a
lTED STATES D|STR|CT JUDGE

 

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This notice confirms a copy of the document docketed as number 99 in
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Donald A. Donati

DONATI LAW FIRM, LLP
1545 Union Ave.

Memphis7 TN 3 8104

Chandell W. Ryan

CITY ATTORNEY'S OFFICE
125 N. Main Street

Ste. 3 14

Memphis7 TN 38103

Reva M. Kriegel

LAW OFFICE OF REVA M. KRIEGEL
266 S. Front St.

Ste. 206

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

